               Exhibit A




Case 4:19-cv-00235-GAF Document 1-1 Filed 03/26/19 Page 1 of 57
                 IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                     Case Number: 1916-CV03690
 GEORGE EDGAR WOLF
                                                    ..
 Plaintiff/Petitioner:                                   •          .   Plaintiff s/Petitioner's Attorney/Address                          •
 ANASTASIA WU LLSCH LEGER                                               JAMES PATRICK FRICKLETON
                                                                        13A RTIMUS FR1CKLETON ROBERTSON
                                                                        RADER, PC
                                                                        11150 OVERBROOK RD. STE 200
                                                                vs.     LEAWOOD, KS 66211
 Defendant/Respondent:                                                  Court Address:
 ROYAL CANIN U.S.A.                                                     415 E 12th
                                                                        KANSAS ci-ry, MO 64106
 Nature of Suit:
 CC Other Tort                                                                                                                            (Date File Stamp)

                                                                    Summons in Civil Case
      The State of Missouri to: NESTLE PURINA PETCARE COMPANY
                                        Alias:
  C.T. CORPORATION SYSTEM
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105
                                    DICM-CL
           COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
              uRT                        which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                         above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                         file your pleading, judgment by default may be taken agains      for the r idf demanded in the petition.

                                                         13-FEB-2019
                                                             Date                                                    Clerk

          JACKSON ,COUNTY                Further Information:

                                                                        Sheriff's or Server's Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
      [1] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      LI  leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                    a person of the Defendant's/Respondent's family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to

                                                                                          (name)                                                           (title).

      0 other                                                                                                                (


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     Served at                                                                                                                                       (31::$CIISS)
                                                                                                                                                       3 '
                                                                                                                  (date) at ; ..          c.t....,    :-. .• (time).
     in                                            (County/City of St. Louis), MO, on
                                                                                                                           --: -
                                                                                                                           (I.'.                           I
                       Printed Name of Sheriff or Server                                                   Signature of Sheri TO Server-0
                                                                                                                                                           "
                                      Must be sworn before a notary public if not served by an authorized officer:           -:1,-- •     :."-d:
                                                                                                                                                      1.   I
                                      Subscribed and sworn to before me on                                                   (;.cilte)i   -c"
                                                                                                                                           ..
             (Seal)
                                                                                                                                          -_.
                                      My commission expires:
                                                                                   Date                                      Notary Public
      Sheriff's Fees
      Summons                      $                                                                                        SZZ
      Non Est                      $                                                                                        C.
      Sheriff's Deputy Salary                                                                                               CI% 4
      Supplemental Surcharge       $    10.00                                                                               C:I
      Mileage                      $                   (       . miles @ S.      per mile)
                                                                                                                            C*4
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on Masses of
      suits, see Supreme Court Rule 54.




OSCA (7/2018) SM30 (.1AKSMCC) For Court Use Only: Document Id 14 19-SMCC-I600 I of I Civil Procedure Form No. 1, Rules 54.01 - 54.05,
                      Case 4:19-cv-00235-GAF Document 1-1 Filed 03/26/19                                       Page
                                                                                                       54.13, and        2 of 57
                                                                                                                  54.20; 506.120- 506.140, and 506.150 RSMo
              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT KANSAS CITY

ANASTASIA WULLSCHLEGER ET AL

                        PLAINTIFF(S),                            CASE NO. 1916-CV03690
VS.                                                              DIVISION 11

ROYAL CAN IN U.S.A ET AL

                        DEFENDANT(S).

         NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION


         NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable GEORGE EDGAR WOLF on 29-MAY-2019 in DIVISION 11 at 01:30 PM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the I 6th Judicial
Circuit web site at www.16thcircuitorg after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.



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                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to. enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

         The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                   POLICIES/PROCEDURES
       Please refer to the Court's web page www.16thcircuitorg for division policies and
procedural information listed by each judge.


                                              /S/ GEORGE EDGAR WOLF
                                              GEORGE EDGAR WOLF, Circuit Judge


                                          Certificate of Service
         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
JAMES PATRICK FRICKLETON, BART1MUS MICKLETON ROBERTSON, RADER. PC,
11150 OVERBROOK RD, STE 200. LEA WOOD, KS 66211

Defendant(s):
ROYAL CAN1N U.S.A.
NESTLE PURINA PETCARE COMPANY

Dated: 13-FEB-2019                                            MARY A. MARQUEZ
                                                              Court Administrator




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                                                            1916-CV03690

            IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                       • ' • • AT KANSAS CITY

ANASTASIA WULLSCHLEGER,
704 W. Gregory
Kansas City, MO 64114

and

GERALDINE BREWER,                               Case No.
4615 Whisper Lake Dr., Apt. 5                   Div.
Florissant, MO 63033

On behalf of
themselves and all others similarly situated,

                     Plaintiffs,
VS.                                             JURY TRIAL DEMANDED

ROYAL CANIN U.S.A., INC.,
Serve at:
STL Agent Services, Inc.
100 South Fourth Street, Suite 1000
St. Louis, MO 63102

and

NESTLE PURINA PETCARE COMPANY,
Serve at:
C.T. Corporation System
120 South Central Avenue
Clayton, MO 63105



                     Defendants.




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                                              PETITION

        COME NOW plaintiffs Anastasia Wullschleger and Geraldine Brewer, individually and

on behalf of all other Missouri citizens similarly situated, and for their causes of action against

Defendants, Royal Canin U.S.A., Inc. and Nestle Purina Petcare Company, demanding trial by

jury of all issues so triable, state and allege as follows:

                                  I.      GENERAL OVERVIEW

        I.      As further detailed hereinafter, Defendants Royal Canin U.S.A., Inc. ("Royal

Canin") and Nestle Purina Petcare Company ("Purina"), in concert, combination, and conspiracy

with other manufacturers of dog and cat food, including Mars Petcare US, Inc. ("Mars") and

Hill's Pet Nutrition, Inc. ("Hill's") (collectively "the manufacturing conspirators"), have created

and enforced upon retailers and consumers the mandatory use of a prescription, issued by a

veterinarian, as a condition precedent to the purchase of certain dog and cat food ("Prescription

Pet Food"). This self-created requirement for a veterinarian-issued prescription as a condition

precedent to purchase Prescription Pet Food misleads reasonable consumers, including Plaintiffs,

to believe that such food has been tested and approved by the United States Food & Drug

Administration ("FDA"), has been subject to government inspection and oversight, and has

medicinal and drug properties, for which consumers are willing to pay a premium. As further

detailed herein, none of this is true.

        2.      No federal, state, or local law requires a prescription for the sale of Prescription

Pet Food. Prescription Pet Food has not been reviewed, tested, or approved by the FDA.

Prescription Pet Food contains no drug or other ingredient that requires FDA approval or a

prescription. Yet, Royal Canin, Purina, and their co-conspirators make disease treatment claims

in their marketing and packaging for Prescription Pet Food, which require product review and




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approval by the FDA under the United States Food, Drug, and Cosmetic Act ("FD&C Act").

Royal Canin, Purina, and their co-conspirators have not sought or obtained such FDA review and

approval. The use by Royal Canin, Purina, and their co-conspirators of the prescription or Rx

designation is thus false, misleading, and contrary to law.

        3.     Defendants Royal Canin and Purina, together with Mars and Hill's, have further

combined and conspired with pet food retailers and veterinary clinics, including PetSmart, Inc.

("PetSmart"); Medical Management International, Inc. d/b/a Banfield Pet Hospital ("Banfield");

BluePearl Vet, LLC ("Blue Pearl"); and VCA Inc. ("VCA") (collectively "the retail

conspirators"), to communicate this false and misleading message to consumers in a wide-

spread, sophisticated, and coordinated scheme, premised on the requirement for a prescription

written by a veterinarian for purchase of Prescription Pet Food. This requirement for a

prescription is communicated to consumers in a variety of ways, including messages on

packaging, in-store displays, websites, and oral and written instructions to and from

veterinarians. The false and misleading nature of the communications is exactly the same for

each Prescription Pet Food for which a prescription is required by the manufacturing

conspirators and for which a prescription is not actually required by law.

       4.      Royal Canin, Purina, and the other manufacturing conspirators make other, non-

prescription dog and cat food with similar ingredients and claims as those made for Prescription

Pet Food, but sell their Prescription Pet Food at substantially higher prices as a result of the false

prescription requirement. Reasonable consumers, including plaintiffs, would not pay the

significantly higher prices charged for Prescription Pet Food if it were not for the false and

misleading message that the coordinated prescription scheme communicates.




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        5.      For example, Royal Canin produces a Prescription Pet Food product called

"Royal Canin Veterinary Diet Gastrointestinal Puppy dry" dog food that sells for $4.60 per

pound, and another substantially similar non-prescription product called "Royal Canin Medium

Puppy dry" dog food that sells for $2.09 per pound. The two products make essentially the same

health claims and have an 89 percent overlap in ingredients. The non-overlapping ingredients

are not drugs and are not sufficient to justify one product's being sold by prescription for a

significantly higher price. Given the overlap in ingredients, and the absence of any drug or other

ingredient required to be sold by prescription in the Prescription Pet Food product, the only

meaningful distinction between the two products that is apparent to Plaintiffs and those similarly

situated is the prescription requirement. The price differential is therefore based largely, if not

entirely, on the prescription requirement imposed by Royal Canin, Purina, and the other

companies in the combination.

        6.      Prescription Pet Food contains no drug or other ingredient not also common in

non-prescription pei food. Royal Canin, Purina, and their co-conspirators impose and enforce

the prescription requirement to prey on the known propensities of consumers to love their pets

and trust their vets.

        7.      By participating in this deceptive scheme and combination, Royal Canin and

Purina have violated the Missouri Antitrust Law, Mo. Rev. Stat., §§ 416.011 et seq., the Missouri

Merchandising Practices Act, Mo. Rev. Stat., §§ 407.010 el seq.; and Missouri law of unjust

enrichment, all as more fully alleged hereafter.

        8.      Retail consumers, including Plaintiffs, have overpaid and made purchases they

otherwise would not have made in the absence of the abuse and manipulation of the prescription

requirement by defendants and their co-conspirators. Plaintiffs bring this class action for




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violation of the Missouri Antitrust Law, Mo. Rev. Stat., §§ 416.011 et seq., the Missouri

Merchandising Practices Act, Mo. Rev. Stat., §§ 407.010 et seq., and Missouri law of unjust

enrichment, on behalf of themselves and all those similarly situated Missouri citizens who

directly or indirectly, for personal, family, or household purposes, have purchased Prescription

Pet Food in Missouri manufactured and sold by Royal Canin, Purina, or any other -member of

the combination and conspiracy described herein, and seek redress from Royal Canin and Purina

in the form of damages, trebled as required by law, restitution, injunctive relief, attorney fees,

and all other relief this Court deems just and proper.

                                         II.     PARTIES

       9.      Plaintiff Anastasia Wullschleger is a resident of Jackson County in the State of

Missouri and the owner of a dog named Clinton. Her veterinarian at Banfield prescribed Royal

Canin Prescription Pet Food for treatment of her dog. She purchased the Royal Canin

Prescription Pet Food at PetSmart in Jackson County in the State of Missouri.

       10.    •Plaintiff Geraldine Brewer is a resident of St. Louis County in the State of

Missouri and the owner of a cat named Sassie. Her veterinarians first at O'Fallon Veterinary

Medical Center in O'Fallon, Missouri, and then at Florissant Animal Hospital in Florissant,

Missouri, prescribed Purina Prescription Pet Food for treatment of her cat. She purchased the

Purina Prescription Pet Food at these locations and also at PetSmart in Florissant.

       II.     Defendant Royal Canin is a Delaware corporation with a principal place of

business at 500 Fountain Lakes Blvd., Suite 100, Saint Charles, Missouri 63301. It is in the

business of manufacturing, producing, marketing, advertising, distributing, and selling dog and

cat food under various labels.




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       12.     Defendant Purina is a Missouri corporation with a principal place of business in

St. Louis, Missouri. Purina is in the business of manufacturing, producing, marketing,

advertising, distributing, and selling dog and cat food under various brands or labels, including,

but not limited to, Prescription Pet`Food sold as "Purina Pro Plan Veterinary Diets." On the

packaging of its Prescription Pet Food, Purina prominently displays the prescription sign "Rx."

Purina is a member of the Nestle Group of companies under the ownership of Nestle S.A. In

2015, Purina was the second largest seller of Prescription Pet Food in the United States and the

second largest seller of pet food in the world, with more than $11 billion in worldwide sales.

                         III. NON-PARTY CO-CONSPIRATORS

       13.     The firms identified in this section of the Petition are non-party co-conspirators

with Royal Canin and Purina in the conduct described in this Petition. Plaintiffs have not narned

these co-conspirators as defendants and seek no relief from them in this action. This is not

intended to be an exhaustive list of co-conspirators.

       14.     Mars is a Delaware corporation with a principal place of business in Franklin,

Tennessee. Mars is in the business of manufacturing, producing, marketing, advertising,

distributing, and/or selling dog and cat food under various brands or labels. Until January I,

2017, at which time Mars ceased selling lams Prescription Pet Food, Mars manufactured,

produced, marketed, advertised, distributed, and sold lams Prescription Pet Food. Royal Canin is

a subsidiary or affiliate of Mars, and Mars' website indicates Royal Canin and lams to be two of

its five billion-dollar brands (another is Banfield Pet Hospital). Some combination of Royal

Canin and Mars manufactures, produces, markets, advertises, distributes, and sells Prescription

Pet Food sold as Royal Canin "Veterinary Diet." Hereinafter, "Mars/Royal Canin" describes

Mars and Royal Canin collectively. In 2015, Mars was the largest seller of Prescription Pet Food




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in the United States and the largest seller of pet food in the world, with more than $17 billion in

worldwide sales.

        15.    PetSmart is a Delaware corporation with a principal place of business in Phoenix,

Arizona. It is a national pet superstore chain founded in 1986 and the largest pet goods retailer in

the United States and North America. PetSmart sells both non-prescription pet food and

Prescription Pet Food. Approximately 900 of PetSmart's approximately 1,145 nationwide stores

include an onsite "Bonfield Pet Hospital," which is owned by Mars. There are at least 31

PetSmarts in Missouri, and 18 of these 31 PetSmarts include an onsite Bonfield Pet Hospital.

Through these locations, PetSmart sells Prescription Pet Food through a process by which

Bonfield Pet Hospital acts as the gatekeeper. As a precondition to purchasing Prescription Pet

Food at PetSmart, all consumers must first obtain a "MedCard" showing the "Rx," "Rx Date,"

and "Rx #" from the onsite Bonfield Pet Hospital, even if they present with a prescription from a

third-party veterinarian. Thus Mars, through Bonfield Pet Hospital, controls PetSmart's sale of

Prescription Pet Food. PetSmart's websites will also not allow a customer to purchase

Prescription Pet Food without a prescription from a veterinarian.

        16.    Since at least May 31, 2017, PetSmart has also owned the online pet-retailer

Chewy.corn. On July 26, 2017, PetSmart moved all of the content from its pet360.com website to

Chewy.com, and redirected a number of its websites to Chewy.com. Since at least 2014,

PetSmart-controlled websites have accounted for more than 40 percent of all pet-related website

traffic. With PetSmart's acquisition of Chewy.com, that share has greatly increased. Through its

websites, PetSmart sells Prescription Pet Food only to customers who present proof of a

prescription from a veterinarian. In its brick and mortar stores, PetSmart displays Prescription

Pet Food in a special section separate and distinct from the areas in which it sells non-




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prescription pet food and prominently displays signs telling customers that "Prescription Diets

Require a MedCard for Purchase." PetSmart, in its stores and websites, sells non-prescription

foods manufactured by many manufacturers. The only Prescription Pet Food sold by PetSmart in

retail locations is that made by Mars/Royal Canin, Purina, and Hill's. Online, prior to 2018,

PetSmart sold only Mars/Royal Canin, Purina, and Hill's Prescription Pet Food. In 2018,

however, as a result of litigation. PetSmart and Mars/Royal Canin, Purina, and Hill's permitted

two smaller competitors for the first time to sell their Prescription Pet Food through Chevvy.com.

        17.    Banfield is a Delaware corporation with a principal place of business at 8000 NE

Tillamook, Portland, Oregon 97213. It is a member of the Mars corporate family of companies.

It is the largest veterinary chain in the United States, operating veterinary clinics at

approximately 900 PetSmart locations, and at dozens of stand-alone locations, and employing

approximately 3,200 veterinarians. There are some 44 veterinarians employed by Banfield in

Missouri, some 38 of which are in Banfield Pet Hospitals in Missouri PetSmarts. Banfield

prescribes and sells Prescription Pet Food manufactured by Mars/Royal Canin, Purina, and

Hill's, and no other Prescription Pet Food. Banfield has a contractual relationship with PetSmart

to put veterinary hospitals in PetSmart stores throughout the United States. From 1994 through at

least the first half of 2015, PetSmart owned approximately 21 percent of Bonfield, or a holding

company that owned Banfield, and Mars owned the remaining approximately 79 percent.

Sometime after June of 2015, Mars, or its parent company, acquired 100 percent of Banfield.

The relationship among PetSmart, Mars, and Banfield originated in 1994 when both PetSmart

and Mars invested in Banfield, and PetSmart and Banfield entered into a strategic partnership

agreement.




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       18.     Blue Pearl is a Florida corporation with a principal place of business at 3000

Busch Lake Boulevard, Tampa, Florida 33614. It is a member of the Mars corporate family of

companies. It is the largest chain of animal specialty and emergency care clinics in the United

States, with approximately 50 locations and 600 veterinarians. There are at least three (3) Blue

Pearl locations in Missouri, employing some 21 veterinarians. Blue Pearl prescribes and sells

Prescription Pet Food of Mars/Royal Canin, Purina, and Hill's, and no other Prescription Pet

Food. Mars, or its parent company, owns approximately 90 percent of Blue Pearl, which it

acquired in 2015.

       19.     VCA is a Delaware corporation with its principal place of business at I 2401 West

Olympic Boulevard, Los Angeles, California 90064. It is a member of the Mars corporate family

of companies. VCA owns or controls approximately 800 veterinary locations employing more

than 4,700 veterinarians. There are least four (4) VCA locations in Missouri, employing some 11

veterinarians. VCA was acquired by Mars on September 12, 2017. On information and belief.

VCA sells or prescribes Prescription Pet Food manufactured by Mars/Royal Canin, Purina, and

Hill's and no other Prescription Pet Food.

       20.     Through its ownership of Banfield, Blue Pearl, and VCA, Mars employs 17

percent of the companion animal veterinarians in the United States through more than 1,700

locations employing approximately 8,500 veterinarians.

       21.     Mars/Royal Canin, Purina, and Hill's collectively have a market share of at least

95 percent in the United States market for Prescription Pet Food. These entities likewise

collectively have a market share of the Prescription Pet Food market in Missouri of a comparable

percentage.




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                   IV.     CONDUCT GIVING RISE TO VIOLATIONS OF LAW

                               A.      The Prescription Pet Food Market

           7".     Manufacturing, producing, marketing, advertising, distributing, and selling

    Prescription Pet Food is an approximately $2 billion per year industry in the United States.

    Worldwide, the top 40 pet food companies had total revenue of $46 billion in 2015. Of that,

    Mars/Royal Canin, Purina, and Hill's had combined revenues of $30 billion, for a 65 percent

    worldwide market share. The market for pet food in the United States was half of that, $23

    billion, and Mars/Royal Canin, Purina, and Hill's had a combined market share in excess of

    50%.

           23.     Hill's began limited sales in the 1960s of its "Prescription Diet" through

    veterinarians and in the late 1980s first began supplying veterinarians with prescription pads as

    part of its marketing effort. The Prescription Pet Food market in the United States, and in

    Missouri, is the creation of Mars/Royal Canin, Purina, and Hill's and the retail conspirators

    named above, and did not exist to any significant extent until 2005, when Hill's, Mars/Royal

    Canin, PetSmart, and Banfield formed the combination and conspiracy described hereafter,

    which Purina subsequently joined, as did Blue Pearl and VCA upon their acquisition by Mars, if

    not before.

           24.     Since 2005, Prescription Pet Food has been a distinct market, or a distinct sub-

    market of the dog and cat food market in the United States, and in Missouri. The market for

    Prescription Pet Food is characterized by specialized vendors and sales channels, distinct and

    different pricing, and different customers from the general pet food market. Specifically,

    Prescription Pet Food is sold only through prescribing veterinarians and retailers honoring and

    filling such veterinary prescriptions; prices are substantially higher for Prescription Pet Food




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than for non-prescription pet food by reason of the prescription requirement; and Prescription Pet

Food is marketed and sold only to pet owners who have obtained a veterinarian's prescription for

Prescription Pet Food.

       25.     Mars/Royal Canin manufactures and markets its Prescription Pet Food in

packaging labeled "Veterinary Diet." Purina manufactures and markets its Prescription Pet Food

in packaging labeled "Pro Plan Veterinary Diets," in which the Rx prescription symbol appears

by extending the bottom of the second "r" in "veterinary" to intersect with tail of the "y." Hill's

manufactures and markets its Prescription Pet Food in packaging labeled "Prescription Diet." At

PetSmart's website, the Prescription Pet Food of Mars/Royal Canin, Purina, and Hill's is

displayed with an Rx symbol beside it as follows:



                RX INFO REQUIRED

       26.     On the Chewy.com website, which PetSmart has owned since May 31, 2017, the

Prescription Pet Food of Mars/Royal Canin, Purina, and Hill's is also displayed with an Rx

symbol beside the words, "This prescription item requires vet approval." As explained in the

website's "Questions & Answers" section, "[a]t checkout you'll be prompted for vet information.

Once your order is placed, our Prescription Team will reach out to your vet by phone or fax. To

expedite the process, you may email a photo of the prescription to us at rx@chewy.com or fax it.

.. [and] we don't need to reach out to the veterinarian if you have the written prescription."

       27.     PetSmart sells Prescription Pet Food only in its brick and mortar stores housing a

Banfield veterinary clinic, and displays Prescription Pet Food in a section separate and distinct

from where it displays non-prescription pet food, in a special aisle immediately adjacent to the

Banfield clinic, and with prominent signs stating "Prescription Diets Require a MedCard for

Purchase. See a Banfield associate for details." In order to purchase Prescription Pet Food at a




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brick and mortar PetSmart, a consumer must first obtain a MedCard from BanfleId. The card

includes entries for the "Rx" food, the "Rx Date," and the "Rx #."

       28.     There are significant barriers to entry in the Prescription Pet Food market, which

require substantial research and development expertise and investment, the ability to reach

veterinary clinics through a separate sales force and distribution network, and, for those

competing ethically with a prescription Rx designation, submission to and compliance with FDA

regulatory requirements and processes. Divisions of larger companies, Mars/Royal Canin,

Purina, and Hill's dominate the Prescription Pet Food market by reason of substantial

investments in their Prescription Pet Food products and their close relationships with

veterinarians, veterinary clinics, and veterinary schools. In addition, these companies have a

significantly larger number of veterinary sales representatives and greater financial resources

than actual and potential new entrants.

       29.     The Prescription Pet Food market requires successful distribution arrangements

with national pet superstore chains, such as PetSmart, Chewy, and Pete°, which collectively sell

roughly 60 percent or more of branded (non-private label) pet food and a higher share of

Prescription Pet Food, as well as alliances with major veterinary chains, such as Banfield, Blue

Pearl, and VGA. Petco sells Prescription Pet Food only on its website, and first began selling

Prescription Pet Food around November 2016. Such alliances with pet superstore and veterinary

chains are necessary because the pet food retail and veterinary markets are otherwise highly

fragmented and dispersed, consisting of thousands of small stores and clinics, rendering

distribution costs for Prescription Pet Food prohibitively expensive in the absence of alliances

with pet superstore retailers and major veterinary chains.




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       30.     As noted, continuously from 2005 through the present, Mars/Royal Canin, Purina,

and Hill's collectively have had a combined share of the Prescription Pet Food market in excess

of 95 percent, at times approaching or equaling 100 percent. For the five years next preceding the

filing of this lawsuit, Mars/Royal Canin, Purina and Hill's collectively had a combined market

share of the Missouri Prescription Pet Food market of at least 95 percent.

       31.     Today, there are only three other companies, small relatively recent entrants,

attempting to compete with Mars/Royal Canin, Purina, and Hill's in the Prescription Pet Food

market in the United States, and in Missouri:

       (a) Blue Buffalo Company, based in Wilton, Connecticut, which markets a line of Natural

       Veterinary Diet—Rx dog and cat food, in addition to lines of non-prescription BLUE dog

       and cat food;

       (b) Diamond Pet Foods, based in Meta, Missouri, which markets Diamond Rx Renal

       Formula pet food, in addition to lines of non-prescription dog and cat food; and

       (c) Darwin's Natural Pet Products, based in Tukwila, Washington, which markets

       Intelligent Design Prescription Meals, in addition to lines of non-prescription dog and cat

       food.

Blue Buffalo and Diamond sell their Prescription Pet Food through veterinarians only, and

cannot obtain distribution through PetSmart brick and mortar stores and, until 2018, its web sites,

although PetSmart and its web sites stock and sell their non-prescription pet food. As noted, only

after being sued, PetSmart and Mars/Royal Canin, Purina, and Hill's for the first time, in 2018,

permitted Blue Buffalo and Diamond to sell their Prescription Pet Food through Chewy.com.

Darwin's sells its Prescription Pet Food pet food directly from Missouri once a customer obtains

a prescription from a veterinarian. Before 2018, unlike Mars/Royal Canin, Purina, and Hill's,




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none of the three smaller competitors were able to sell Prescription Pet Food through PetSmart,

its websites, or Banfield. Plaintiffs are informed and believe that agreements between and among

Mars/Royal Canin, Purina, Hill's, PetSmart, and Banfield prohibit and restrict PetSmart and

Banfield from stocking and selling Prescription Pet Food made by these small and other

competitors.

       32.        The past, present, and future ownership, operation, and control of veterinary

clinics and hospitals by PetSmart and Mars have created significant barriers to entry in the

Prescription Pet Food market in the United States, and in Missouri, for actual and potential

competitors by effectively foreclosing distribution outlets necessary for sellers of competing

Prescription Pet Food, who cannot effectively reach customers without distribution through

PetSmart and the veterinary chains owned by Mars because of the prohibitive expense in selling

only to the thousands of individual and small group veterinary practices.

       33.        As majority shareholder and now sole owner of Banfield, Mars/Royal Canin has

possessed and exercised the power to determine the manufacturers whose Prescription Pet Food

is prescribed and sold through Banfield and PetSmart, as well as through Blue Pearl and VCA.

Mars/Royal Canin has exercised that power to allow only prescribing and sale of Prescription Pet

Food manufactured by Purina, Hill's, and itself.

             H.      The False, Deceptive, and Misleading Prescription Requirement

       34.        Neither federal nor Missouri law requires that Prescription Pet Food be sold with

a Prescription from a veterinarian. None of the Prescription Pet Food purchased by the Plaintiffs

contains a drug, and none has been submitted to the FDA for its review, analysis, or approval.

The same is true for all Prescription Pet Food.




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        35.     By requiring a prescription from a veterinarian as a pre-condition to the purchase

of their Prescription Pet Food, Mars/Royal Canin, Purina, and their co-conspirators misrepresent

Prescription Pet Food to be: (a) a substance medically necessary to health; (b) a drug, medicine,

or other controlled ingredient; (c) a substance that has been evaluated by the FDA as a drug; (d) a

substance as to which the manufacturer's representations regarding intended uses and effects

have been evaluated by the FDA; and (e) a substance legally required to be sold by prescription.

Prescription Pet Food is none of these.

        36.     Most pet owners experience the heartfelt concern that accompanies trips to the

veterinarian, as well as the willingness to follow doctor's orders to their fullest extent. Plaintiffs

are reasonable consumers who expect that pet food that requires a prescription from a

veterinarian as a condition of purchase has been submitted to and approved by the FDA for the

particular purposes and conditions for which it has been prescribed and that the product carries

with it all of the testing, analysis, safety assurances, and efficacy that any product submitted to

and approved by the FDA would have. Accordingly, reasonable consumers, including Plaintiffs,

are willing to pay a premium for Prescription Pet Food.

       37.     To obtain Prescription Pet Food, customers must either (a) buy it directly from the

veterinarian who prescribes it, or (b) take the prescription to a business that sells Prescription Pet

Food, such as Banfield, Blue Pearl, VCA, a PetSmart store with Banfield on-site, or a PetSmart

web site. In this way, Mars/Royal Canin, Purina, and their co-conspirators control the sale of

Prescription Pet Food at retail to those with a prescription from a veterinarian so as to create for

the consumer the experience of buying a drug and give the reasonable but false and misleading

impression of a government tested and approved product warranting a premium price.




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        38.    Plaintiffs, as reasonable retail consumers, (a) understand the requirement for a

prescription to mean that a governmental authority has sanctioned and controls the use and

distribution of the product and has provided its required oversight and review; (b) associate

'prescription fulfillment with following doctor's orders; and (c) experience the prescribing and

purchase of Prescription Pet Food in the exact same manner as an actual prescription drug for a

dog or cat.

        39.    Plaintiffs, as reasonable consumers, humanize their pets. In marketing and selling

Prescription Pet Food, Mars/Royal Canin, Purina, and their co-conspirators take advantage of

and betray vulnerable pet owners concerned about the health of the family pet, and prey on the

known propensities of Plaintiffs and others similarly situated to treat their pets as family.

        40.    Prescription Pet Food:

       (a) has not been subjected to the FDA process for evaluating the quality of drug

        ingredients and manufacturing processes;

       (b) has not been subjected to the FDA process for evaluating the efficacy of claims and

        propriety of representations;

       (c) does not contain any ingredient listed as a drug in the FDA's "Green Book," a

        publication listing all approved animal drugs;

       (d) does not appear as a drug in the Green Book;

       (e) does not contain any drug approved by the FDA; and

       (f) does not bear the mandatory legend borne by those items required by the FDA to be

       sold by prescription (i.      "Caution: Federal law restricts this drug to use by or on the

       order of a veterinarian.").




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       41.      Mars/Royal Canin, Purina, and their co-conspirators have at all times known that

Prescription Pet Food is not legally required or allowed to be sold by prescription, that

representing expressly or implicitly that a prescription is legally required is false, and that all of

them know this.

       42.      Mars/Royal Canin, Purina, and their co-conspirators have at all times also known

that there is no medicine, drug, or other ingredient in Prescription Pet Food required by law to be

submitted to or approved by the FDA or another governmental entity, that neither the FDA nor

any other governmental entity has undertaken any review or approval process, and that neither

the FDA nor any other governmental entity has approved Prescription Pet Food for treatment of

any condition or illness.

       43.      Mars/Royal Canin, Purina, and their co-conspirators impose the condition

precedent of a prescription from a veterinarian, and such condition precedent is an integral step

in the marketing, sale, and purchase of Prescription Pet Food.

       44.     The intended purpose and effect of the prescription requirement has been to

enable Mars/Royal Canin, Purina, and their co-conspirators to market and sell Prescription Pet

Food at excessive, inflated prices above the price of non-prescription pet food making

substantially similar treatment claims. The supra-competitive price premium for Prescription Pet

Food is not cost-justified and is the intended result of the false, deceptive, and misleading

prescription requirement imposed by Mars/Royal Canin, Purina, and their co-conspirators.

                            C.      The Combination and Conspiracy

                                         1.      Formation




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        45.    In 1994, PetSmart, Mars, and Banfield entered into a combination to transfer

ownership and control of Banfield to PetSmart and Mars and execute a contract for a strategic

partnership among themselves locating Banfield pet hospitals in PetSmart stores.

        46.    At that time, Prescription Pet Food was not a significant factor or a recognized

sub-market in the United States pet food market. Hill's was the primary seller of pet food

through veterinarians and was using the term "Prescription Diet."

        47.    By 2004, however, this had changed, with Hill's becoming a significant player in

the sale of pet food for which an actual prescription was required, although no prescription was

legally required. Mars/Royal Canin, as the market leader confronted with a growing threat from

Hill's, faced the choice of competing with Hill's non-prescription pet food, or colluding with

Hill's in the fraudulent sale of Prescription Pet Food at unjustified enhanced prices. It chose the

latter course, developing and introducing its own Veterinary Diet line of Prescription Pet Food.

       48.     In March of 2005, Mars/Royal Canin, Hill's, PetSmart, and Banfield entered into

a combination and conspiracy to sell Prescription Pet Food, pursuant to which they agreed:

       (a) to restrict the retail sale of their Prescription Pet Food to pet owners who had obtained

       and presented a prescription;

       (b) to require that retail sellers enforce their prescription and presentation requirement;

       and

       (c) to restrict retail sellers to those who agreed to enforce the prescription requirement,

all with the purpose and effect of raising, fixing, stabilizing, and pegging prices of Prescription

Pet Food.




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       49.     In furtherance of the combination and conspiracy, Hill's entered into a

"merchandising agreement" with PetSmart and Bonfield, which Mars and PetSmart owned, to

sell Hill's Prescription Pet Food in all PetSmart stores with an on-site Bonfield pet hospital.

       50.     At that time, PetSmart and Bonfield were selling Mars/Royal Canin Prescription

Pet Food, and Mars had the power to exclude Prescription Pet Food competitors from Bonfield

and PetSmart by reason of its majority ownership of Bonfield. Nonetheless, contrary to its

independent economic interest, Mars/Royal Canin agreed to allow its Prescription Pet Food

competitor, Hill's, into Bonfield and PetSmart in furtherance of their combination and

conspiracy. PetSmart and Bonfield have sold Hill's and Mars/Royal Canin Prescription Pet Food

continuously since 2005 through the present day.

       51.     Once Hill's, Mars/Royal Canin, PetSmart, and Bonfield formed their combination

and conspiracy in 2005, Purina faced the same choice Mars/Royal Canin had faced: compete or

collude. Like Mars/Royal Canin, it chose to collude and joined the combination and conspiracy.

       52.     Similarly, Mars/Royal Canin faced the same choice: whether to exercise its power

to exclude its Prescription Pet Food competitor, Purina, from Bonfield and PetSmart. Again,

contrary to its independent economic interest, Mars/Royal Canin allowed Purina to begin selling

Prescription Pet Food through Bonfield and PetSmart in approximately 2006 and to join the

existing combination and conspiracy in the misleading and deceptive sale of Prescription Pet

Food with the purpose and effect of raising, fixing, stabilizing, and pegging Prescription Pet

Food prices. PetSmart and Bonfield have sold Purina Prescription Pet Food continuously since

2005 through the present day.

       53.     Although Mars/Royal Canin, Purina, and Hill's have continuously sold

Prescription Pet Food through Bonfield and PetSmart in furtherance of their combination and




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conspiracy, Mars/Royal Canin, Purina, and their co-conspirators have prevented their smaller

Prescription Pet Food competitors from doing so. In furtherance of their combination and

conspiracy, Mars/Royal Canin, Purina, and their co-conspirators agreed that Bonfield and

PetSmart would not stock, offer, or sell Blue Buffalo Natural Veterinary Diet dog and cat food,

Darwin's Intelligent Design Prescription Meals, or Diamond Care Rx Renal Formula, the

prescription dog and cat foods of their other competitors. Prescription Pet Food of these smaller

competitors was also not available on the PetSmart-controlled websites until 2018, when Blue

Buffalo and Diamond were allowed to sell their Prescription Pet Food on Chewy.com. PetSmart,

PetSmart.com, and Chewy.com, have, however, carried the non-prescription dog and cat food of

Blue Buffalo Company and Diamond.

       54.     As a result of their combination, Mars/Royal Canin, Purina, and their co-

conspirators created a separate and distinct market for Prescription Pet Food, which had not

previously existed, which enabled them to sell Prescription Pet Food at anticompetitive,

enhanced prices, and which they have dominated.

                                       2.      Perpetuation

       55.     In September of 2012, the FDA published for comments a Draft Compliance

Policy Guide ("Draft CPG"), "LABELING AND MARKETING OF NUTRITIONAL

PRODUCTS INTENDED FOR USE TO DIAGNOSE, CURE, MITIGATE, TREAT, OR

PREVENT DISEASES IN DOGS AND CATS."

       56.     The Draft CPG expressly stated at the outset, "This draft Compliance Policy

Guide, when finalized, will represent the Food and Drug Administration's (FDA's) current

thinking on this topic. It does not create Or confer any rights for or on any person and does not

operate to bind FDA or the public."




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       57.     The Draft CPG was intended for guidance of FDA staff in deciding whether to

institute enforcement actions against violations of the FD&C Act and related statutes by

manufacturers of dog and cat food products "identified on their labels or in labeling as being

intended for use to diagnose, cure, mitigate, treat, or prevent diseases." Such products included

the Prescription Pet Food of Mars/Royal Canin, Purina, and Hill's. For example:

(a)    Mars' Royal Canin Prescription Pet Food labels stated that they were for issues including

"Renal Health," "Gastrointestinal and Dermatological Health," "Struvite Dissolution,"

"Digestive Health," "Protect[ing] Healthy Skin & Coat," "mininniz[ing] glucose fluctuations,"

"Cardiac Health," "Calorie Control," and others. Further, each Royal Canin Prescription Pet

Food stated on its package that Royal Canin had the knowledge to "formulate the optimal diet for

your [pet's] special needs."

       (b)     Mars' lams Prescription Pet Food labels stated that they were for issues including

       "Glucose and Weight Control," "Management of Skin & Coat and Gastrointestinal

       Health," "Nutritional Management of Joint and Senior Health," "Nutritional Management

       of Kidney Health," "Help[ing] your pet safely reach and maintain her ideal weight," and

       others. Further, each lams Prescription Pet Food stated on its package that it was

       "prescribed and sold by veterinarians" and "[a]uthorized by prescription and sold only

       through veterinarians."

       (c)     Purina Prescription Pet Food labels stated that they were for issues including

       "promot[ine] a urinary environment unfavorable to the development of both struvite and

       calcium oxiate cystals," "significantly reduc[ing] build-up of tartar," "support[ing]

       intestinal health," "maintain[ing] lean body mass," and others. Further, each Purina

       Prescription Pet Food package was branded with an "Rx" symbol and the Rod of




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       Asclepius (the snake wrapped around the rod, a universal symbol of medicine) and stated

       that "our goal is to help your pet lead an active, healthy lifestyle."

       (d)       Hill's Prescription Pet Food labels stated that they were for issues including

       "weight management," "digestive care," "food sensitivities," "urinary care," "kidney

       care," "dental care," "aging care," "glucose management," "heart care," "joint care,"

       "liver care," "skin sensitivity," "thyroid care," "urgent care," and others. Further, each

       Hill's Prescription Pet Food package stated it was a "Prescription Diet," represented that

       the contents were "Clinical Nutrition," bore an image of a stethoscope, and explained

       "How this product will help your pet."

       58.       The Draft CPG concluded that such products met the definition of drugs and food

under the FD&C Act. Therefore, if such products, including the Prescription Pet Food of

Mars/Royal Canin, Purina, and Hill's, did not have an approved New Animal Drug Application

or meet other FD&C Act requirements, they were "unsafe," "adulterated," "misbranded," illegal,

and subject to enforcement actions by the FDA.

       59.       All of the Prescription Pet Food of Mars/Royal Canin, Purina, and Hill's lacked

an approved New Animal Drug Application or met other FD&C Act requirements, and therefore

all of their Prescription Pet Food was "unsafe," "adulterated," and "misbranded" in violation of

the FD&C Act.

       60.       The term "prescription" did not appear in the Draft CPG, which did not

recommend, suggest, or approve of the use of a prescription requirement in the marketing or sale

of offending products, including Prescription Pet Food. Nor did the term "authorize" appear in

the draft CPG.




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       61.     At the time of the Draft CPG, both the pet food industry and the veterinary

profession widely held the view that use of a prescription requirement was improper and

misleading for products not subjected to FDA review and approval. In a filed comment on the

Draft CPG, the American Feed Industry Association, representing "more than 550 domestic and

international companies and state, regional and national associations," recommended "that pet

food products subject to this CPG should be regulated in a manner similar to human medical

foods, as veterinary medical foods." According to the FDA, "The labeling of medical foods may

not bear the symbol 'Rx only'," because "medical foods are not required by federal law to be

dispensed by prescription," and "[t]herefore, the use of the symbol 'Rx only' in the labeling of a

medical food would misbrand a medical food under section 403(a)(1) of the FD&C Act because

it would be a false and misleading statement about that product." Another filed comment from

the American Veterinary Medical Association ("AVMA"), known as "the recognized national

voice for the veterinary profession," representing 83 percent of all U.S. veterinarians,

recommended that because Prescription Pet Food had "not been evaluated by FDA for safety,

efficacy, or nutritional adequacy, ... all pet food products with implied or explicit health or drug

claims [should] include a prominent statement on the label that these claims have not been

evaluated by the FDA."

       62.     Despite these FD&C Act violations by Mars/Royal Canin, Purina, and Hill's, the

Draft CPG stated that FDA staff had discretion to withhold enforcement against offending

products provided such products met each of nine requirements. Conditions I and 5-7 were: (1)

"The product is made available to the public only through licensed veterinarians or through retail

or internet sales to individuals purchasing the product under the direction of a veterinarian."; (5)

"The product does not include indications for a disease claim (e.g., obesity, renal failure) on the




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label."; (6) "Distribution of labeling and promotional materials with any disease claims for the

product is limited so that it is provided only to veterinary professionals."; and (7) "Electronic

resources for the dissemination of labeling information and promotional materials are secured so

that they are available only to veterinary professionals."

       63.     Mars/Royal Canin, Purina, and Hill's were clearly not in compliance with

conditions 5, 6, and 7 of the Draft CPC, in that their Prescription Pet Food included indications

for disease claims (e.g., obesity, kidney problems) on the labels (condition 5); their labeling and

distribution of promotional materials with disease claims were not limited to veterinary

professionals (condition 6), but went to consumers generally; and their electronic dissemination

of labeling and promotional materials with disease claims was not secured so as to be available

only to veterinary professionals (condition 7), but was directed to consumers on the intemet.

       64.     Specifically:

       (a)     For its Royal Canin and lams Prescription Pet Food, Mars made advertising and

       marketing, representations directly to consumers that its Prescription Pet Food is a

       prescription product intended to address disease. In addition to its labeling claims, Mars'

       Royal Canin web site stated, "Our Veterinary-Exclusive diets support a wide range of

       health issues such as: Urinary Health, Skin and Food Allergies, Diabetes, Digestive

       Support, Liver Health, Joint Support, Illness and Surgery Recovery Support, Renal

       Health, Weight Management, and Cardiac Health."

       (b)     For its "Pro Plan Veterinary Diets," Purina made advertising and marketing

       representations directly to consumers that its Prescription Pet Food was a prescription

       product intended to address disease. In addition to labeling claims, the Purina website

       extolled the benefits of Purina's Prescription Pet Foods and told consumers to "[a]sk your




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        veterinarian if Purina Pro Plan Veterinarian Diets cat foods and dog foods can help

       manage your pet's health." The web site stated, "Purina Pro Plan Veterinary Diets dog

       and cat foods deliver nutrition with a purpose. Available only from your veterinarian,

       they play an important role in nutritionally managing dogs and cats with certain

       conditions. Each formula has been developed with specific nutrients to support pets with

       health issues."


       (c)     In its "Prescription Diet" line, Hill's made advertising and marketing

       representations directly to consumers that its Prescription Pet Food is a prescription

       product intended to address disease. In addition to its labeling claims, above. Hill's

       website explained the benefits of its Prescription Pet Food, and let consumers search

       products by pet "conditions" (such as "weight management," "digestive care," "food

       sensitivities," "urinary care," "kidney care," "dental care," "aging care," "glucose

       management," "heart care," "joint care," "liver care," etc.). The web site also stated:

       "Select dog or cat and discover the benefits of Hill's® Prescription Diet® therapeutic pet

       foods — formulated for most of your pet's life care needs.. .No matter what health issues

       your dog is facing, our alliance with veterinarians puts us in a unique position to find a

       solution. Ask your vet how the Prescription Diet® dog foods can help his weight,

       mobility, kidney, digestive, urinary and skin and coat health."

       65.     In view of the Draft CPG and their non-compliance with the FD&C Act,

Mars/Royal Canin, Purina, and Hill's were confronted with the choice of whether to continue

marketing their Prescription Pet Food in violation of federal and state law, or to eliminate the

prescription requirement and otherwise comply with law. They decided jointly at that time, in the




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Fall of 2012, to continue their combination and conspiracy marketing Prescription Pet Food

exactly as they had been doing, and they have continued to do so through the present.

       66.     In response to the Draft CPG and the FDA's request for comments, Mars/Royal

Canin, Purina, and Hill's met under and exploited the cover of their trade association, the Pet

Food Institute ("PFI"), to deal with the threat posed by the Draft CPG to their Prescription Pet

Food business. At the time of the Draft CPG, Mars/Royal Canin, Purina, and Hill's were all

represented on the PH Board of Directors by their top executives. Hill's was represented on the

PFI Board of Directors by its President, U.S., Kostas Kontopanos. On the Board of Directors and

the PH Executive Committee were Purina's President, Americas, Joe Sivewright, and Mars'

General Manager, Chris Hamilton. Mr. Sivewright was also Vice-Chairman of PFI's Board.

Royal Canin was represented by Randy King, Global Head of Safety and Regulatory of P&G Pet

Care. In addition, representatives of Purina and Mars chaired the PFI's two standing committees,

Public Affairs (Purina) and Regulatory Affairs (Mars), which was involved in responding to the

FDA's request for comments.

       67.     Under the auspices of the PFI, from September to early November, 2012,

Mars/Royal Canin, Purina, and Hill's met and discussed how their existing combination and

conspiracy to market and sell Prescription Pet Food could be preserved and continue without

change or interruption.

       68.     On November 8,2012, at the instance of Mars/Royal Canin, Purina, and Hill's,

the PFI wrote the FDA in defense of their Prescription Pet Food marketing practices. The letter

stated that although pet food making therapeutic claims "are not drugs" and "no drug registration

or drug listing should be required," such products should nevertheless "only be available to the




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public through licensed veterinarians with whom the purchaser has a valid Veterinary-Client-

Patient Relationship."

       69.     As of that time, Mars/Royal Canin, Purina, and Hill's jointly agreed that they

would continue their combination and conspiracy to engage in deceptive marketing and sale of

Prescription Pet Food with the purpose and effect of charging supra-competitive prices,

notwithstanding their violations of the FD&C Act. They further agreed that all would construe

the Draft CPG to require them to use a prescription requirement, and to contend that their use of

the prescription requirement was a good faith effort to comply with the Draft CPG,

notwithstanding their clear violations of its conditions. They decided jointly at that time to

continue their combination marketing Prescription Pet Food exactly as they had been doing and

have continued to do so through the present.

       70.     In April, 2016, the FDA published the CPG as Sec. 690.150 Labeling and

Marketing of Dog and Cat Food Diets Intended to Diagnose, Cure, Mitigate, Treat, or Prevent

Diseases (the "Published CPG"). The Published CPG was substantially identical to the Draft

CPG with only minor changes, the most significant of which was expansion of the required

conditions for exercise of enforcement discretion from 9 to 1 I. In the Published CPG, what had

been conditions 5-7 became conditions 3-5, respectively. The Published CPG contained the same

disclaimer that "It does' not establish any rights for any person and is not binding on FDA or the

public." Similarly, it found that therapeutic pet food making disease claims, as did the

Prescription Pet Food of Mars/Royal Canin, Purina, and Hill's, was unsafe, adulterated, and

misbranded in the absence of compliance with the FD&C Act. Like the Draft CPG, the Published

CPG did not use the word "prescription," the word "authorization," or any derivative of

"prescription" or "authorization."




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       71.     Despite the publication of the CPG, Mars/Royal Canin, Purina, and their co-

conspirators have complied with neither the FD&C Act nor the conditions for the exercise of

enforcement discretion set forth in the CPG. They have at all times in the five years next prior to

the filing of this Petition continued to manufacture, market, and sell Prescription Pet Food as part

and in furtherance of their contract, combination, and conspiracy to deceive consumers with the

purpose and effect of raising, fixing, stabilizing, and pegging prices.

       72.     Additionally, in the five years next preceding the filing of this Petition,

Mars/Royal Canin, Purina and H ills' have failed to comply with certain manufacturing

requirements as follows:

       a)      The FDA wrote in the CPG that "under the FD&C Act, dog and cat food products

       that are intended to treat or prevent disease and to provide nutrients in support of the

       animal's daily nutrient needs can be regulated as drugs (section 201(g) of the FD&C Act

       [21 U.S.C. 321(g)]), foods (section 201(f) of the FD&C Act [21 U.S.C. 321(f)]), or both."

       b)      Mars/Royal Canin, Purina, and each other non-party co-conspirator represent on

       the labels and packaging of the Prescription Pet Food that their products are intended to

       treat, prevent, and/or mitigate diseases. See, e.g., 7,157, 64. Further, Mars/Royal Canin

       and Purina all manufacture, ship, mail, and/or deliver their Prescription Pet Food

       products to, from, or within the State of Missouri. See, e.g., Ijig I I 12.

       c)      Missouri defines a "Legend drug" as lajny drug or biological product .. . that is

       restricted to use or dispensed by practitioner only." Mo. Rev. Stat. § 338.330(2)(a)(c).

       d)      Prescription Pet Food is dispensed by practitioners only, through and because of

       the Defendant manufacturer co-conspirators' prescription requirement, and thus such




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         Prescription Pet Food is a "drug" and a "legend drug" under Missouri law. See Mo. Rev.

        Stat. §338.330.

        e)       All manufacturers of "drugs" must register and list those drugs with the FDA,

        regardless of whether those drugs are approved or index listed. 21 U.S.C. § 360. Failure

        to register as a manufacturer and list such drugs makes the drugs misbranded under the

         FD&C Act. 21 U.S.C. § 352(o); See also CPG at 4. The FDA provides an electronic

        database of all registered manufacturers and of all drugs listed under section 510 on its

        website at https://www.accessdata.fda.gov/scripts/cder/drls/default.cfm and

        https://www.fda.gov/Forl ndustry/Data Standards/S tructuredProductLabel ing/uc mI910 I 5.

        htm, respectively.


        0        Because these products can be regulated as drugs and meet the statutory

        definitions of drugs, certain statutory and regulatory requirements apply to the

        manufacturing of the Prescription Pet Food at issue herein under Missouri state law,

        including, but not limited to, licensing and/or registration requirements, facility

        specifications and product processing requirements, record keeping requirements, and

        facility inspections. See, e.g., Mo. Rev. Stat. § 338.210 el seq., 20 C.S.R. § 2220-5.020.1

        These requirements differ depending on whether or not the manufacturing occurs in the

        state or outside of the state, but in either situation, the manufacturer must be licensed or

        registered with the State of Missouri. Missouri also provides an electronic database of

        licensed and registered entities on its website at https://renew.pr.mo.gov/pharmacy-

        licensee-search.asp.




I These requirements are detailed and further explained by the Missouri Board of Pharmacy in the "Missouri Drug

Distributor Compliance Guide" dated February 2012 and available on the Missouri Board of Pharmacy website at
https://pr.mo.g_ov/pharrnacists-drug-distributors.asp.




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         g)       According to the FDA website, neither Mars/Royal Canin nor Purina is registered

         with the FDA as a manufacturer of animal drugs or has listed any drugs on the Electronic

         Animal Drug Product Listing Directory in connection with any Prescription Pet Food.2

         h)       According to the Missouri Board of Pharmacy website, neither Mars/Royal Canin

         nor Purina has a current license or registration as a wholesale drug distributor with the

         Board of Pharmacy.

         i)       Based upon the foregoing, neither Mars/Royal Canin nor Purina has complied

         with the relevant licensing or registration requirements of the Missouri statutes and

         regulations or with the registration and listing requirements of the FD&C Act, and each is

         therefore in violation of those statutes and regulations.

         73.     The decision to continue their Prescription Pet Food combination and conspiracy

as they had been doing in violation of federal and state law was a decision made collectively by

Mars/Royal Canin, Purina, and their co-conspirators, in that such a decision was contrary to the

independent economic self-interest of each of them without agreement with the others, but

rational if made collectively to continue their successful combination. The conduct of

Mars/Royal Canin, Purina, and each other co-conspirator in violating the FD&C Act and various

federal and state deceptive trade practice and consumer protection laws all by itself exposed each

to multiple risks, including (1) potential solicitation of FDA enforcement action by a competitor

or consumer; (2) suit by another conspirator for deceptive marketing practices in violation of the

Lanham Act, 15 U.S.C. §-1125(a), (3) advertising to consumers exposing the sham selling of




2
 One listing does appear on the FDA's website for "Nestle Purina Petcare Company" with a Clinton, Iowa address
under the "Business Operations" listing of "Manufacture". This listing, however, does not appear to be in
connection with the Prescription Pet Food manufactured by Purina at issue in this case inasmuch as the only
corresponding drug listing on the Electronic Animal Drug Product Listing Directory is with regard to "Purina Pro
Plan Focus Hairball Remedy", which is not a Prescription Pet Food.




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Prescription Pet Food and consequent loss of sales and consumer good will; and (4) suit by

consumers on learning of the deception. Any of these risks could result in public exposure and

the irrecoverable loss of consumer trust and goodwill, inasmuch as the deceptive use of the

prescription requirement depended for its success on the unquestioning faith of vulnerable pet

owners in the apparently disinterested advice and recommendations of their veterinarians. If,

however, all conspirators, as the dominant sellers of Prescription Pet Food, agreed jointly to

continue selling Prescription Pet Food as they had been, these risks would be substantially

mitigated because of their combined resources and collective market power.

       74.     Once the Draft CPG was issued, it is further implausible that Mars/Royal Canin,

Purina, and Hill's would have each independently concluded that the Draft CPG suggested,

recommended, or authorized the use of a prescription requirement in the marketing and sale of

Prescription Pet Food, or that the Draft CPG suggested, recommended, or authorized their

making disease claims on labeling or promotional materials provided to consumers, whether in

print or on websites. It is further implausible that each would have independently decided to

engage in a course of conduct in violation of the Draft CPG and the FD&C Act in exactly the

same manner, as in fact occurred. That all three manufacturers decided to violate the Draft CPG

and FD&C Act in the same way is explicable only as the result of a collective decision or

agreement.

                              V.      INJURY TO PLAINTIFFS

       75.     Plaintiff Wullschleger began purchasing Royal Canin Veterinary Diet

Hypoallergenic HP Adult dry Prescription Pet Food for her dog Clinton from PetStriart in

approximately June, 2015, at the recommendation of a veterinarian at Bonfield in her local

PetSmart, and has continued to do so at the recommendations of other Bonfield veterinarians at




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the location. She was told then and has continued to be told by veterinarians at Banfield and sales

people at PetSmart that she cannot buy this Prescription Pet Food product without a prescription

and a completed MedCard from Banfield.

       76.     When Plaintiff Wullschleger was told that she needed a prescription for the Royal

Canin dog food she understood and believed that the Prescription Pet Food was intended to treat

specific disease and health problems of her dog; that it contained medicine of some sort; that

there had been some type of regulatory oversight in its manufacture; and that her purchasing the

Prescription Pet Food was substantially similar to the purchase of prescription drugs from a

pharmacy such as CVS. She also observed that the Prescription Pet Food was shelved in a

section of the PetSmart store separate and distinct from the sections containing non-prescription

pet food, and that signs in the Prescription Pet Food section advised that a prescription and

MedCard from Banfield were required to purchase Prescription Pet Food.

       77.     Royal Canin Veterinary Diet Hypoallergenic HP Adult dog food makes claims on

its packaging including:

       • Supports skin and digestive health in dogs with food sensitivity

       • Helps maintain skin and coat health


       • Supports the skin's natural barrier

       • Helps maintain digestive health

       • 100% Complete and Balanced Nutrition Canine Hydrolyzed Protein Adult HP is a

          highly palatable, highly digestible, complete and balanced hydrolyzed protein diet

       • The diet is specifically formulated for use as short-term elimination feeding and as

         long-term nutrition for dogs with food sensitivities.




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       • Specific nutrient blend to help regulate intestinal transit and to help support the

         digestive flora

       • Optimal amounts of B vitamins and amino acids help maintain the skin's natural barrier

         effect

       • Long chain omega omega-3 fatty acids that promote a healthy skin and coat

       • Hydrolyzed soy protein; composed of low molecular-weight peptides, is highly

         digestible and supports gastrointestinal and dermatological health

       78.     Royal Canin also manufactures and markets non-prescription foods that make

similar claims. By way of example, Royal Canin manufactures and markets non-prescription

Royal Canin Maxi Sensitive Digestion dry dog food, which states on its packaging that it is for

"Sensitive Digestion" and makes claims on its packaging including:

       • "Helps support digestive health with high quality protein sources and maintain

         oligosaccharides. This formula helps promote a balanced intestinal flora and maintain

         stool quality."

       • "This formula contains nutrients that help support healthy skin and coat."

       • "L.I.P.: protein selected for its very high digestibility."

       • "100% COMPLETE AND BALANCED NUTRITION MAXI SENSITIVE

         DIGESTION Size Health Nutrition is formulated to meet the nutritional levels

         established by the AAFCO (Association of American Feed Control Officials) Dog Food

         Nutrient Profiles for maintenance."

       • "Helps support large breed dogs healthy bones and joints"

       79.    There are 42 total ingredients in Royal Canin Veterinary Diet HP dog food.

Thirty-four of these ingredients are also in Royal Canin Maxi Sensitive Digestion dry dog food,




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which has 51 total ingredients, for an overlap of more than 66 percent. The non-overlapping

ingredients are not drugs and are not sufficient to justify one product being sold by prescription

for a significantly higher price.

       80.     Despite these similarities, Royal Can in Veterinary Diet HP dog food currently

sells for $3.83 per pound and Royal Canin Maxi Sensitive Digestion dry dog food for $1.92 per

pound at PetSmart.

      81.      As a result of the false and fraudulent prescription requirement and the

combination and conspiracy of Royal Canin, Purina, and their co-conspirators, Plaintiff

Wullschleger paid more for Prescription Pet Food than she would have paid in the absence of the

requirement, or would never have purchased Prescription Pet Food.

      82.      On the recommendation of her veterinarians, Plaintiff Brewer has purchased

Purina Pro Plan Veterinary Diets UR St/Ox Urinary Formula Dry Prescription Pet Food for her

cat Sassie from O'Fallon Veterinary Medical Center, Florissant Animal Hospital, and PetSmart

beginning in 2009 and continuing through the present. She was told then and has continued to be

told by veterinarians and sales people at PetSmart that she cannot buy this Prescription Pet Food

without a prescription and a completed MedCard from Banfield. She was told that Purina Pro

Plan Veterinary Diets UR St/Ox Urinary Formula Dry Prescription Pet Food was a specialized

pet food that could only be purchased with a prescription.

       83.     When Plaintiff Brewer was told that she needed a prescription for the Purina cat

food, she understood and believed that the Prescription Pet Food was intended to treat specific

disease and health problems of her cat; that it contained medicine of some sort; that there had

been some type of regulatory oversight in its manufacture; and that her purchasing the

Prescription Pet Food was substantially similar to the purchase of prescription drugs from a




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pharmacy such as CVS. She also observed that the Prescription Pet Food was shelved in a

section of the PetSmart store separate and distinct from the sections containing non-prescription

pet food, and that signs in the Prescription Pet Food section advised that a prescription and

MedCard from Banfield were required to purchase Prescription Pet Food.

       84.     Purina Pro Plan Veterinary Diets UR St/Ox Urinary Formula Dry Prescription Pet

Food makes claims on its packaging, including:

       • Promotes increased urine flow to dilute the urine

       • Helps dissolve struvite stones

       • Helps reduce the risk of both struvite and calcium oxalate stone recurrence

       • Promotes a urinary environment unfavorable to the development of struvite and

         calcium oxalate crystals

       85.     Purina also makes non-prescription Purina Pro Plan Focus Adult Urinary Tract

Health Formula Dry Cat Food, which makes claims on its packaging, including:

       • Helps maintain urinary tract health by reducing urinary pH and providing low dietary

         magnesium

       • Purina studies show: Diets that include acidifying ingredients promote a low urine pH

         while supporting cats' health

       • pH Benefit: This formula effectively promotes .a LOW URINE pH, which helps

         maintain a HEALTHY URINARY TRACT

       86.     There are 35 total ingredients in Purina Pro Plan Veterinary Diets UR St/Ox

Urinary Formula Dry Cat Food. Twenty-eight of these ingredients are also in Purina Pro Plan

Focus Adult Urinary Tract Health Formula Dry Cat Food, which has 38 total ingredients, for an




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overlap of 74 percent. The non-overlapping ingredients are not drugs and are not sufficient to

justify one product being sold by prescription for a significantly higher price.

        87.     Despite these similarities, Purina Pro Plan Veterinary Diets UR St/Ox Urinary

Formula Dry Cat Food currently sells for $4.03 per pound and Purina Pro Plan Focus Adult

Urinary Tract Health Formula Dry Cat Food for $2.31 per pound at PetSmart.

        88.     As a result of the false and fraudulent prescription requirement and the

combination and conspiracy of Royal Canin, Purina, and their co-conspirators, Plaintiff Brewer

paid more for Prescription Pet Food than she would have paid in the absence of the requirement,

or would never have purchased Prescription Pet Food.

        89.     Plaintiffs Wullschleger and Brewer, who are currently feeding their pets

Prescription Pet Food, are reluctant to change their pets' diet abruptly and may again purchase

Prescription Pet Food if their pets reacted well to it in the past, or if their veterinarians prescribe

a new Prescription Pet Food. It is therefore essential to the fairness of the transaction not only for

Plaintiffs, but for all Class Members, that Defendants' violations of law be enjoined. The

veterinarians and store personnel with whom Plaintiffs and Class members interface with in

purchasing Prescription Pet Food will generally not be in a position to confirm that the

Prescription Pet Food at issue is not (a) a substance medically necessary to health; (b) a drug,

medicine, or other controlled ingredient; (c) a substance that has been evaluated by FDA as a

drug; (d) a substance as to which the manufacturer's representations regarding intended uses and

effects have been evaluated by the FDA; or (e) a substance legally required to be sold by

prescription. The Defendants themselves must therefore be enjoined to stop their violations at the

source, before they filter down to the consumer level and vitiate the actual purchase transactions.

                            VI.     CLASS ACTION ALLEGATIONS




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        90.    For purposes of their claims under the Missouri Antitrust Law, Mo. Rev. Stat. §§

416.011 Cl seq., Plaintiffs seek to represent a class consisting of and defined as all Missouri

citizens who purchased Prescription Pet Food in Missouri for personal, family, or household

purposes directly or indirectly from Royal Canin, Purina, or any of their co-conspirators during

the five years next prior to the filing of this lawsuit ("the Missouri Antitrust Class").

        91.    For purposes of her claims under the Missouri Merchandising Practices Act, Mo.

Rev. Stat., §§ 407.010 et seq., and Missouri law of unjust enrichment, Plaintiff Wullschleger

seeks to represent a class consisting of and defined as all Missouri citizens who purchased in

Missouri Royal Canin Prescription Pet Food for personal, family, or household purposes during

the five years next prior to the filing of this lawsuit ("the Missouri Royal Canin Class").

       92.     For purposes of her claims under the Missouri Merchandising Practices Act, Mo.

Rev. Stat., §§ 407.010 et seq., and Missouri law of unjust enrichment, Plaintiff Brewer seeks to

represent a class consisting of and defined as all Missouri citizens who purchased in Missouri

Purina Prescription Pet Food for personal, family, or household purposes during the five years

next prior to the filing of this lawsuit ("the Missouri Purina Class").

       93.     Plaintiffs' claims are typical of the respective classes they seek to represent in that

all class members in each class are Missouri citizens who purchased Prescription Pet Food in

Missouri from Defendants and their co-conspirators because it was prescribed.for their pets by a

veterinarian pursuant to the prescription requirement imposed by Defendants and their co-

conspirators, and, as reasonable consumers, all class members utilized the prescription to

purchase that pet food based upon the misrepresentations communicated by the prescription, as

alleged hereinabove. Regardless of any differences in the products purchased, all class members

purchased Prescription Pet Food in reliance on and because of the same combination and




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conspiracy, misrepresentation, and unfair and deceptive practice imposed by Defendants and

their co-conspirators—the false prescription requirement— and paid an unjustified price

premium, in the absence of which they would not have purchased the Prescription Pet Food, or

would have paid a lower price.

        94.    Members of each of the Classes are so numerous that joinder of all members is

impracticable. While the exact number of Class Members for each Class is currently unknown,

and can only be ascertained through appropriate discovery, the members of the Classes are likely

to number at least in the thousands, and the disposition of the Class Members claims in a single

action will provide substantial benefits to all parties and to the Court. Class Members are readily

identifiable from information and records in the possession, custody, or control of Defendants,

retailers of Prescription Pet Food, veterinarians, and the Class Members.

        95.    Common questions of law and fact exist as to all members of the Classes, and

predominate over any questions solely affecting individual members of each Class. Questions of

law and fact common to the Classes include, but are not limited to, the following:

        a. Whether Defendants and their co-conspirators have imposed a "prescription"

requirement on Prescription Pet Food they manufacture, market, and sell, notwithstanding that

Prescription Pet Food is not a drug and has not been subjected to FDA review or clearance as a

drug;

        b. Whether the prescription requirement and Defendants' related representations and

omissions materially misrepresent that Prescription Pet Food contains some substance medically


necessary to health;




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       c. Whether the prescription requirement and Defendants' related representations and

omissions materially misrepresent that Prescription Pet Food contains some sort of drug,

medicine, or other controlled ingredient;

       d. Whether the prescription requirement and Defendants related representations and

omissions materially misrepresent that the statements regarding the intended uses and effects of

Prescription Pet Food have been evaluated by the FDA;

       e. Whether the prescription requirement and Defendants' related representations and

omissions materially misrepresent that Prescription Pet Food requires a prescription under

federal or state law;

       f. Whether the prescription requirement and Defendants' related representations and

omissions materially misrepresent that Prescription Pet Food is so materially different from non-

prescription pet food that paying a price premium is warranted;

       g. Whether Prescription Pet Food is misbranded;

       h. Whether Plaintiffs and Class Members are entitled to a declaratory judgment;

       i. Whether Plaintiffs and Class Members are entitled to equitable relief, including, but not

limited to, a preliminary or permanent injunction;

       j. Whether Plaintiffs and Class Members are entitled to restitution or disgorgement and

the amount;

       k. Whether Plaintiffs and Class Members are entitled to punitive or exemplary damages

and the amount;

       I. Whether Defendants should be required to make restitution, disgorge profits, reimburse

losses, pay damages, or pay treble damages as a result of the above-described practices;




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       m. Whether Defendants and their co-conspirators have combined and conspired to

misrepresent Prescription Pet Food as part and in furtherance of a combination and conspiracy to

fix, raise, stabilize, or peg prices of Prescription Pet Food;

       n. Whether Defendants and their co-conspirators have conspired to monopolize the

market for Prescription Pet Food in the United States and/or the State of Missouri;

       o. Whether the combination and conspiracy of Defendants and their co-conspirators to

fix, raise, stabilize, or peg the prices of Prescription Pet Food has caused injury to the business or

property of Plaintiffs and the Class Members;

        p. The amount of the overcharge and damage paid as a result of the combination and

conspiracy to fix, raise, stabilize, or peg the prices of Prescription Pet Food, or the Defendants'

deceptive trade practices;

       q. Whether Defendants' actions as described above violate the Missouri Antitrust Law,

Mo. Rev. Stat., §§ 416.011   et seq.; and

       r. Whether Defendants' actions as described above violate the Missouri Merchandising

Practices Act, Mo. Rev. Stat., §§ 407.010 ei   seq.

       96.     The claims of Plaintiffs are typical of the claims of Class members because

Plaintiffs and each member of the Classes purchased Prescription Pet Food, and suffered a

monetary loss as a result of that purchase. Further, the factual bases of Defendants' conduct are

common to Plaintiffs and the members of each Class and represent a common thread of

misconduct resulting in an injury common to all Class members.

       97.     Plaintiffs are adequate representatives of the respective Classes because their

interests do not conflict with the interests of the Class Members Plaintiffs seek to represent,

Plaintiffs have retained competent counsel experienced in prosecuting class actions, and




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Plaintiffs intend to prosecute this action vigorously. The interests of Class Members will be

fairly and adequately protected by Plaintiffs and their counsel.

       98.     Class certification and class-wide litigation and relief are appropriate because a

class action is superior to all other available methods for the fair and efficient adjudication of this

controversy. Liability, injury, and damages can be proved on a class-wide basis. Joinder of all

members is impracticable. Furthermore, the damages suffered by the individual members of the

Classes may be so small that the expense and burden of individual litigation make it impossible

for most members of the Classes individually to redress the wrongs done to them. Absent a class

action, Class Members' damages will go uncompensated, and Defendants' misconduct will

continue without remedy. Class treatment of common questions of law and fact will also be

superior to multiple individual actions or piecemeal litigation in that class treatment will

conserve the resources of the courts and the litigants, and will promote consistency and

efficiency of adjudication.

       99.     Defendants have acted in a uniform manner with respect to the Plaintiffs and

Class Members of each Class. Class-wide declaratory, equitable, and injunctive relief is

appropriate because Defendants have acted on grounds that apply generally to the Classes, and

inconsistent adjudications with respect to Defendants' liability would establish incompatible

standards and substantially impair or impede the ability of Class Members to protect their

interests. Class-wide relief assures fair, consistent, and equitable treatment and protection of all

Class Members, and uniformity and consistency in Defendants' discharge of their duties to

perform corrective action regarding Prescription Pet Food.




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                                         VII. JURISDICTION

            100.   This Court has jurisdiction of this action pursuant to the Missouri Antitrust Law,

    Mo. Rev. Stat., § 416.121, and the Missouri Merchandising Practices Act, Mo. Rev. Stat., §

    407.025.

                                          CAUSES OF ACTION

                                                 COUNT I

                    VIOLATION OF MISSOURI ANTITRUST LAW § 416.031.1

                                          (Royal Canin, Purina)




            101.   Plaintiffs, on behalf of themselves and the Missouri Antitrust Class, hereby re-

    allege and incorporate by reference the allegations in the preceding paragraphs as if set forth in

    full herein.

            102.   Continuously during the five years next prior to the filing of this Petition,

    Defendants and their co-conspirators have entered into a contract, combination, or conspiracy in

    restraint of trade or commerce in Missouri to fix, raise, stabilize, and peg prices for Prescription

    Pet Food by agreeing, combining, and conspiring to misrepresent and market and sell

    Prescription Pet Food through a knowingly deceptive, misleading, and self-imposed prescription

    requirement having no legal basis or mandate.

            103.   Defendants' combination and conspiracy is per se unlawful under the Missouri

    Antitrust Law, Mo. Rev. Stat., § 416.031.1. Alternatively, Defendants' combination and

    conspiracy has unreasonably restrained trade and commerce in the market for Prescription Pet

    Food in the state of Missouri in violation of the Missouri Antitrust Law, Mo. Rev. Stat., §

    416.031.1.




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        I 04.   Defendants' combination and conspiracy has led to anticompetitive effects,

including unjustifiably increased prices for Prescription Pet Food, and otherwise caused injury to

consumers and competition in the market for Prescription Pet Food in the state of Missouri, in

that Plaintiffs and the Missouri Antitrust Class have paid more for Prescription Pet Food than

they would have otherwise paid in the absence of Defendants' violation, and have thereby been

injured in their business and property.

        105.    Plaintiffs and the Missouri Antitrust Class will continue to suffer injury and other

damage unless Defendants are enjoined from continuing to engage in their combination and

conspiracy, and are thereby entitled to injunctive relief pursuant to the Missouri Antitrust Law,

Mo. Rev. Stat., § 416.071.

        106.    Plaintiffs and the Missouri Antitrust Class are entitled to all damages proximately

caused by Defendants' violation of the Missouri Antitrust Law, including the unjustified price

premium paid by them for Prescription Pet Food, and are entitled to three-fold such damages as

they show themselves to have sustained and the jury shall find, together with injunctive relief,

and their cost of suit, including a reasonable attorney's fee, pursuant to the Missouri Antitrust

Law, Mo. Rev. Stat., § 416.121.

                                            COUNT II

                VIOLATION OF MISSOURI ANTITRUST LAW 4 416.031.2

                                      (Royal Canin, Purina)

        107.    Plaintiffs, on behalf of themselves and the Missouri Antitrust Class, hereby re-

allege and incorporate by reference the allegations in the preceding paragraphs as if set forth in

full herein.




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        108.   Continuously during the five years next prior to the filing of this Petition,

Defendants and their co-conspirators, with the specific intent to obtain a monopoly, have entered

into a conspiracy to monopolize the market for Prescription Pet Food in the State of Missouri, and

have committed overt acts in furtherance thereof, including agreeing, combining, and conspiring

to misrepresent and market and sell Prescription Pet Food through a knowingly deceptive,

misleading, and self-imposed prescription requirement having no legal basis or mandate, and by

agreeing, combining, and conspiring to limit and preclude non-conspiring competing

manufacturers of Prescription Pet Food from access to major channels of distribution, including

their co-conspirator retailers and veterinary clinics.

        109.    Defendants' conspiracy to monopolize the market for Prescription Pet Food in the

State of Missouri is unlawful under the Missouri Antitrust Law, Mo. Rev. Stat., § 416.031.2.

        110.    Defendants' conspiracy to monopolize the Prescription Pet Food market in the

State of Missouri has led to anticompetitive effects, including unjustifiably increased prices for

Prescription Pet Food, and otherwise caused injury to consumers and competition in the market

for Prescription Pet Food in the State of Missouri, in that Plaintiffs and the Missouri Antitrust

Class have paid more for Prescription Pet Food than they would have otherwise paid in the

absence of Defendants' violation, and have thereby been injured in their business and property.

        111.   Plaintiffs and the Missouri Antitrust Class will continue to suffer injury and other

damage unless Defendants are enjoined from continuing to engage in their conspiracy to

monopolize, and are thereby entitled to injunctive relief pursuant to the Missouri Antitrust Law,

Mo. Rev. Stat., j 416.071.

        112.   Plaintiffs and the Missouri Antitrust Class are entitled to all damages proximately

caused by Defendants' violation of the Missouri Antitrust Law, including the unjustified price




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premium paid by them for Prescription Pet Food, and are entitled to three-fold such damages as

they show themselves to have sustained and the jury shall find, together with injunctive relief,

and their cost of suit, including a reasonable attorney's fee, pursuant to the Missouri Antitrust

Law, Mo. Rev. Stat., § 416.121.

                                            COUNT III

  VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT 407.020, et sea.

                                           (Royal Canin)

          13.   Plaintiff Wullschleger, on behalf of herself and the Missouri Royal Canin Class,

hereby re-alleges and incorporates by reference the allegations in the preceding paragraphs as if

set forth in full herein.

        114.    Continuously during the five years next prior to the filing of this Petition, Royal

Canin has engaged in the act, use, and employment of deception, fraud, false pretense, false

promise, misrepresentation, unfair practice, and the concealment, suppression, or omission of

any material fact in connection with the sale and advertisement of Royal Canin Prescription Pet

Food in trade or commerce in the state of Missouri by misrepresenting and marketing and selling

Prescription Pet Food through a knowingly deceptive, misleading, and self-imposed prescription

requirement having no legal basis or mandate.

        115.    The conduct of Royal Canin in the act, use, and employment of deception, fraud,

false pretense, false promise, misrepresentation, unfair practice, and the concealment,

suppression, or omission of any material fact in connection with the sale and advertisement of

Prescription Pet Food in trade or commerce in the state of Missouri is unlawful under the

Missouri Merchandising Practices Act, Mo. Rev. Stat., j 407.020 el seq.




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       116.    The violation of the Missouri Merchandising Practices Act, Mo. Rev. Stat., §

407.020, by Royal Canin has caused Plaintiff Wullschleger and the Missouri Royal Canin Class

to suffer an ascertainable loss of money or property, real or personal, as a result of the use or

employment by Royal Canin of a method, act, or practice declared unlawful by section 407.020,

in that Plaintiff Wullschleger and the Missouri Royal Canin Class have paid more for

Prescription Pet Food than they would have otherwise paid in the absence of Defendant's

violation, and have thereby been injured in their persons and property.

       117.    Plaintiff Wullschleger and the Missouri Royal Canin Class will continue to suffer

injury and other damage unless Defendant Royal Canin is enjoined from continuing to engage in

violations of Missouri Merchandising Practices Act, Mo. Rev. Stat., § 407.020, and are thereby

entitled to injunctive relief pursuant to the Missouri Merchandising Practices Act, Mo. Rev. Stat.,

§ 407.025.

       118.     Plaintiff Wullschleger and the Missouri Royal Can              Class are entitled to

all actual damages proximately caused by said Defendant's violation of the Missouri

Merchandising Practices Act, Mo. Rev. Stat., § 407.020, including the unjustified price premium

paid by them for Prescription Pet Food, and are entitled to punitive damages, together with

injunctive relief, and attorney's fees, pursuant to the Missouri Merchandising Practices Act, Mo.

Rev. Stat., § 407.025.

                                            COUNT IV

 VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT 4 407.020, et seq.

                                              (Purina)




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        119.   Plaintiff Brewer, on behalf of herself and the Missouri Purina Class, hereby re-

alleges and incorporates by reference the allegations in the preceding paragraphs as if set forth in

full herein.

        120.   Continuously during the five years next prior to the filing of this Petition, Purina

has engaged in the act, use, and employment of deception, fraud, false pretense, false promise,

misrepresentation, unfair practice, and the concealment, suppression, or omission of any material

fact in connection with the sale and advertisement of Prescription Pet Food in trade or commerce

in the state of Missouri by misrepresenting and marketing and selling Prescription Pet Food

through a knowingly deceptive, misleading, and self-imposed prescription requirement having no

legal basis or mandate.

        121. The conduct of Purina in the act, use, and employment of deception, fraud, false

pretense, false promise, misrepresentation, unfair practice, and the concealment, suppression, or

omission of any material fact in connection with the sale and advertisement of Prescription Pet

Food in trade or commerce in the state of Missouri is unlawful under the Missouri

Merchandising Practices Act, Mo. Rev. Stat., § 407.020 ei seq.

        122.   The violation of the Missouri Merchandising Practices Act, Mo. Rev. Stat., §

407.020 by Purina has caused Plaintiff Brewer and the Missouri Purina Class to suffer an

ascertainable loss of money or property, real or personal, as a result of the use or employment by

Purina of a method, act, or practice declared unlawful by section 407.020, in that Plaintiff

Brewer and the Missouri Purina Class have paid more for Prescription Pet Food than they would

have otherwise paid in the absence of Purina's violation, and have thereby been injured in their

persons and property.




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                 123.     Plaintiff Brewer and the Missouri Purina Class will continue to suffer injury and

         other damage unless Purina is enjoined from continuing to engage in violations of Missouri

         Merchandising Practices Act, Mo. Rev. Stat., § 407.020, and are thereby entitled to injunctive

         relief pursuant to the Missouri Merchandising Practices Act, Mo. Rev. Stat., § 407.025.

                 124.     Plaintiff Brewer and the Missouri Purina Class are entitled to all actual damages

         proximately caused by Purina's violation of the Missouri Merchandising Practices Act, Mo. Rev.

         Stat., § 407.020, including the unjustified price premium paid by them for Prescription Pet Food,

         and are entitled to punitive damages, together with injunctive relief, and attorney's fees, pursuant

         to the Missouri Merchandising Practices Act, Mo. Rev. Stat., § 407.025.

                                                      COUNT V

                                             UNJUST ENRICHMENT

                                                    (Royal Canin)

                 125.    Plaintiff Wullschleger, on behalf of herself and the Missouri Royal Canin Class,

         hereby re-alleges and incorporates by reference the allegations in the preceding paragraphs as if

         set forth in full herein.

                 126.    Continuously during the five years next prior to the filing of this Petition, Royal

         Canin has been unjustly enriched in violation of the common law of the state of Missouri by

         misrepresenting and marketing and selling Prescription Pet Food through a knowingly deceptive,

         misleading, and self-imposed prescription requirement having no legal basis or mandate,

         pursuant to which Royal Canin induced Plaintiff Wullschleger and the Missouri Royal Canin

         Class to confer a benefit on Royal Canin by paying an unwarranted price premium for

         Prescription Pet Food. Royal Canin was aware of and willfully induced Plaintiff Wullschleger




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    and the Missouri Royal Canin to confer such benefit, which Royal Canin has inequitably kept for

    itself.

               127.   The violation of the Missouri common law of unjust enrichment by Royal Canin

    has caused Plaintiff Wullschleger and the Missouri Royal Canin Class to suffer an ascertainable

    loss of money or property, real or personal, as a result of the use the false and fraudulent

    prescription requirement by Royal Canin, in that Plaintiff Wullschleger and the Missouri Royal

    Canin Class have paid more for Prescription Pet Food than they would have otherwise paid in the

    absence of said Defendant's violation, and have thereby been injured in their persons and

    property.

               128.   Plaintiff Wullschleger and the Missouri Royal Canin Class will continue to suffer

    injury and other damage unless Royal Canin is enjoined from continuing to engage in violations

    of Missouri common law of unjust enrichment, and are thereby entitled to injunctive relief.

               129.   Plaintiff Wullschleger and the Missouri Royal Canin Class are entitled to all

    actual damages proximately caused by Royal Canin's violation of Missouri common law of

    unjust enrichment, including disgorgement and restitution of the price premium they have paid

    for Prescription Pet Food, together with their costs and such other relief as may be appropriate.

                                                 COUNT VI

                                          UNJUST ENRICHMENT

                                                   (Purina)

              130.    Plaintiff Brewer, on behalf of herself and the Missouri Purina Class, hereby re-

    alleges and incorporates by reference the allegations in the preceding paragraphs as if set forth in

    full herein.




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                131.   Continuously during the five years next prior to the Mine, of this Petition, Purina

        has been unjustly enriched in violation of the common law of the state of Missouri by

        misrepresenting and marketing and selling Prescription Pet Food through a knowingly deceptive,

        misleading, and self-imposed prescription requirement having no legal basis or mandate,

        pursuant to which it induced Plaintiff Brewer and the Missouri Purina Class to confer a benefit

        on it by paying an unwarranted price premium for Prescription Pet Food. Purina was aware of

        and willfully induced Plaintiff Brewer and the Missouri Purina Class to confer such benefit,

        which Purina has inequitably kept for itself.

                132.   The violation of the Missouri common law of unjust enrichment by Purina has

        caused Plaintiff Brewer and the Missouri Purina Class to suffer an ascertainable loss of money or

        property, real or personal, as a result of the use the false and fraudulent prescription requirement

        by Purina, in that Plaintiff Brewer and the Missouri Purina Class have paid more for Prescription

        Pet Food than they would have otherwise paid in the absence of Purina's violation, and have

        thereby been injured in their persons and property.

               133.    Plaintiff Brewer and the Missouri Purina Class will continue to suffer injury and

        other damage unless Purina is enjoined from continuing to engage in violations of Missouri

        common law of unjust enrichment, and are thereby entitled to injunctive relief.

               134.     Plaintiff Brewer and the Missouri Purina Class are entitled to all actual damages

        proximately caused by Purina's violation of Missouri common law of unjust enrichment,

        including disgorgement and restitution of the price premium they have paid for Prescription Pet

        Food, together with their costs and such other relief as may be appropriate.

                                             PRAYER FOR RELIEF




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        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

request the Court to enter Orders and Judgment against Defendants as follows:

        135.    Certifying the Missouri Antitrust Class, the Missouri Royal Canin, and the

Missouri Purina Class, or such other alternative classes as the Court shall determine, under

Missouri Rule of Civil Procedure 52.08 and Missouri Statutes § 407.025.3, and naming the

Plaintiffs as representatives of the respective Classes, and Plaintiffs' attorneys as Class Counsel

to represent the Class Members;

        136.    Finding, adjudging, and decreeing that Defendants have engaged in the violations

of law alleged in this Petition;

        137.    Enjoining Defendants from engaging in further such violations of law as the jury

shall find and the Court shall adjudge and decree;

        138.    Estopping Defendants from denying Prescription Pet Food is a "drug" and

enjoining Defendants to comply with all federal and Missouri provisions applicable to the

manufacture of such drugs, or alternatively, enjoining Defendants from making the disease

treatment claims on the packaging of Prescription Pet Food;

        139.   Declaring that Defendants are financially responsible for notifying all Class

Members about the true nature of Prescription Pet Food;

        140.   Awarding to Plaintiffs and the Classes such damages as the jury shall find for the

violations alleged;

        141.   Awarding to Plaintiffs and the Missouri Antitrust Class three-fold such damages

as they show themselves to have sustained and the jury shall find, together with injunctive relief,

and their cost of suit, including a reasonable attorney's fee, pursuant to the Missouri Antitrust

Law § 416.121;




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            142.    Awarding to Plaintiff Wullschleger and the Missouri Royal Can in Class, and to

    Plaintiff Brewer and the Missouri Purina Class, punitive damages, together with injunctive relief,

    and attorney's fees, pursuant to the Missouri Merchandising Practices Act, Mo. Rev. Stat.,

    407.025.1;

            143.   Finding, declaring, and decreeing that Defendants must disgorge, for the benefit

    of Plaintiffs and Class Members, all or part of the ill-gotten profits received from the sale of

    Prescription Pet Food in violation of Missouri common law of unjust enrichment;

            144.   Awarding prejudgment interest on all amounts recovered; and

            145.   Awarding all such other and further relief to which Plaintiff and the Classes are

    entitled.

                                         JURY TRIAL DEMAND

            146.     Plaintiffs demand a trial by jury on all issues so triable.




                                           Respectfully submitted,

                                           BARTIMUS FRICKLETON ROBERTSON RADER, P.C.

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